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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                      8:13CR43

       vs.
                                                                        ORDER
HERIBERTO AVILA-MERCADO,
ROBYN RENEA HAMILTON,
JESSICA MARIE HERNANDEZ,
DAVID CODINA-RAMIREZ,
MIKE SCOTT ROSELIUS,

                      Defendants.


       The defendant, David Codina-Ramirez, has moved to continue the trial currently set for
February 3, 2014 (Filing No. 212).        The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 212), is granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in Courtroom #1 of the United States Courthouse,
              Omaha, Nebraska, at 9:00 a.m. on February 24, 2014, for seven trial days, or as
              soon thereafter as the case may be called. Jury selection will be held at
              commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a
              speedy trial. Accordingly, the additional time arising as a result of the granting of
              the motion, the time between February 3, 2014, and February 24, 2014, shall be
              deemed excludable time in any computation of time under the requirements of
              the Speedy Trial Act, because despite counsel’s due diligence, additional time is
              needed to adequately prepare this case for trial and failing to grant additional
              time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
              (h)(7).

       December 18, 2013.

                                                    BY THE COURT:

                                                    s/ F. A. Gossett, III
                                                    United States Magistrate Judge
